This court has reached the conclusion that, considering all the facts of the case, the appellee order may not be enjoined from having and using the name chosen and fixed in the act of incorporation as the name such incorporation was to bear, since, as a matter of pure law, there is dissimilarity in the names of the two organizations. Free and Accepted Masons v. Ancient Free and Accepted Masons, Colored (Tex.Civ.App.)179 S.W. 265; Supreme Lodge of the Order of Knights of Pythias v. Improved Order Knights of Pythias, 113 Mich. 133, 71 N.W. 470, 38 L.R.A. 658. In this view all the other assignments of error are overruled.
There is distinguishment between the present appeal and the two following cases: Benevolent  Protective Order of Elks v. Improved Benevolent  Protective Order of Elks, 205 N.Y. 459, 98 N.E. 756, L.R.A. 1915B, 1074, Ann.Cas. 1913E, 639; International Committee of Young Women's Christian Ass'n v. Young Women's Christian Ass'n of Chicago,194 Ill. 194, 62 N.E. 551, 56 L.R.A. 888.
As there was no evidence of any amount of damages or value of losses of dues, the finding of no damages, as against S. S. Reid, by the jury cannot be set aside.
The judgment is affirmed.